Case 2:22-cv-02344-MEMF-GJS Document 34 Filed 10/20/22 Page1of1 Page ID #:180
AMENDED AFFIDAVIT OF SERVICE

 

 

 

 

 

 

 

Case: Court County: Job:

22-cv-02344 United States District Court for the Central 6929579
District of California

Plaintiff / Petitioner: Defendant / Respondent:

JANE DOE JOSEPH "JOJO" DIAZ, JR.

Received by: For:

Blue Panther Process Server Federal Practice Group

To be served upon:

JOSEPH ‘JOJO’ DIAZ, JR.

 

 

 

|, Carlos Lopez, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address: JOSEPH JOJO’ DIAZ, JR., 9800 AIRPORT BLVD, SAN ANTONIO, TX 78216-4808
Manner of Service: Personal/Individual, Apr 8, 2022, 10:53 pm CDT
Documents: Summons in a Civil Action, Civil Cover Sheet, Complaint (Received Apr 8, 2022 at 1:04prr CDT),

Additional Comments:

1) Unsuccessful Attempt: Apr 8, 2022, 3:15 pm CDT at ALAMODOME: 100 MONTANA 5ST, SAN ANTONIO, TX 78203-1000

Arrived at location. Spoke with security and a group of bystanders. Security said all the boxers have been moved back to the hotel room.
The bystanders sad they have not seen Jojo. Most people didn't know him but two young men stated that Diaz had posted on Instagram
that he will be here but they have not seen him. Waited for everything to clear before heading to the hotels most people said that they
might be at the Mariott hotel or the Grand Hyatt | will be trying both. Unsuccessful attempt.

2) Successful Attempt: Apr 8, 2022, 10:53 pm CDT at 9800 AIRPORT BLVD, SAN ANTONIO, TX 78216-4808 received by JOSEPH JOJO" DIAZ, JR.,
Age: 29; Ethnicity: Hispanic; Gender: Male; Weight: 123; Height: 5'6"; Hair: Black; Eyes: Black; Relationship: Recipient; Other: “Jojo";

Arrived at location. Waited in terminal B. | checked on the screen that his fight had arrived and the baggage claim was B3. Walked to the
area noticed 4 Hispanic male that fit the description of the pictures provided by the client. | approached him and asked if his name was
Joseph Diaz jr. he stated yes. | handed him his documents. He took them by hand. Took a picture of him reading the documents. Successful
serve.

Subscribed and sworn to before me by the affiant who is
personally known to me.

Cap EF FS —Satover 18th, 2022 Nf, / f- ~

 

 

 

 

Carlos Lopez = Date
PSC# 14703 Notary Pale

Ottobér 18,2022 01-24-2025
Blue Panther Process Server Date Commission Expires

1800 NE Loop 410 Suite 302
San Antonio, TX 78217
210-630-0406

 

  
  
 

 

MYRANDA MARIN
jotary Public, State of Texas
Comm. Expires 01-24-2025
Notary ID 130976185

z

 

 

  

 
